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         EXHIBIT I
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                                            Microsoft buys               4-9billion
                                                           LinkedIn for $26.2   Filed    06/07/17
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MICROSOFT BUYS LINKEDIN FOR $26.2
BILLION
            STEVEN TWEEDIE
            JUN. 13, 2016, 8:31 AM


Microsoft is buying LinkedIn for $26.2 billion, the
company announced on Monday.

Microsoft will pay $196 per share for the company.

LinkedIn CEO Jeff Weiner will remain CEO of the
social network for professionals, reporting directly
to Microsoft CEO Satya Nadella.

Under the terms of the acquisition, LinkedIn will
maintain its "distinct brand, culture, and
independence" — similar to how Facebook handled
its acquisition of WhatsApp — and Microsoft says
LinkedIn cofounder and chairman Reid Hoffman
and Weiner "both fully support" the purchase, with
both boards signing off.

The deal is expected to be completed this calendar                   Microsoft CEO Satya Nadella.
year.
                                                                     Getty Images/Mat Hayward
LinkedIn shares jumped more than 47% following
the news when the markets opened. Microsoft
shares, which were halted in pre­market trading
pending the news, have since reopened and fallen about 4%.

Nadella announced the news to Microsoft employees in an email Monday morning, which you can read here.
LinkedIn CEO Jeff Weiner also sent an email to staff, which you can read here.




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LinkedIn CEO Jeff Weiner.

Chip Somodevilla/Getty


Integrating LinkedIn into existing Microsoft software
"This deal brings together the world’s leading professional cloud with the world’s leading professional network,"
Nadella wrote in the email. "I have been learning about LinkedIn for some time while also reflecting on how
networks can truly differentiate cloud services. It’s clear to me that the LinkedIn team has grown a fantastic
business and an impressive network of more than 433 million professionals."

Nadella went on to mention how Microsoft's Office software suite could be combined with LinkedIn's network in
the future, such as the ability for Microsoft to serve up suggestions for a specialized expert through LinkedIn
when its software recognizes you're trying to complete a specific task.

LinkedIn will also be able to plug into Office to detect the kind of project you're working on, which the social
network will then use to surface relevant articles to infuse into your LinkedIn news feed.

"We are in pursuit of a common mission centered on empowering people and organizations. Along with the new
growth in our Office 365 commercial and Dynamics businesses this deal is key to our bold ambition to reinvent
productivity and business processes," Nadella wrote.

"Think about it: How people find jobs, build skills, sell, market and get work done and ultimately find success
requires a connected professional world. It requires a vibrant network that brings together a professional’s
information in LinkedIn’s public network with the information in Office 365 and Dynamics. This combination
will make it possible for new experiences such as a LinkedIn newsfeed that serves up articles based on the project
you are working on and Office suggesting an expert to connect with via LinkedIn to help with a task you’re trying
to complete.

"As these experiences get more intelligent and delightful, the LinkedIn and Office 365 engagement will grow. And
in turn, new opportunities will be created for monetization through individual and organization subscriptions
and targeted advertising."

You can read Microsoft's full announcement here, or watch Nadella and Weiner discuss the purchase in the video
below:
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    Satya Nadella and Jeff Weiner on Microsoft acquiring LinkedIn




Get the latest Microsoft stock price here.




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